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                                            UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                    Case No.: 1:21-cr-00552 DLF-1



                                   v.                        DEFENDANT’S MOTION IN LIMINE
                                                             TO PRECLUDE PREJUDICIAL
KENNETH THOMAS,                                              WORDS AND PHRASES
                                        Defendant.

                          COMES NOW, Kenneth Thomas, by and through undersigned counsel,

and respectfully requests the entry of an order limiting the government’s use of

certain words or terms at trial. Mr. Thomas seeks to prevent the government from

using the following terms: "Rioters," "Breach," "Confrontation," "Anti-Government

Extremism," "insurrectionists," and "mob." Mr. Thomas also seeks to limit the

government from referencing Mr. Thomas as an "Anti-government extremist" or

utilizing captions on photos, videos, or exhibits referencing the same. In support,

the following is stated:

                                        A.    The References to Rioters, Breach, Confrontation,
                                              Mob, Anti-Government Extremism and/or
                                              Insurrectionist(s).


                          Any out-of-court "statement" offered in evidence to prove the truth of

the matter asserted is hearsay. Fed. R. Evid. 801(c). The term "statement" includes

both oral and written assertions. Fed. R. Evid. 801(a). Hearsay evidence is

inadmissible unless authorized by another rule or statute. Fed. R. Evid. 802.
 United States v. Kenneth Thomas                                           Joseph R. Conte
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"Hearsay is generally inadmissible as evidence because it is considered unreliable."

United States v. Lozado, 776 F.3d 1119, 1121 (10th Cir. 2015) (citing Williamson v.

United States, 512 U.S. 594, 598 (1994)). The Sixth Amendment’s Confrontation

Clause guarantees a defendant the right "to be confronted with the witnesses

against him." U.S. Const. amend VI. The Clause precludes the government from

introducing even otherwise admissible hearsay. Crawford v. Washington, 541 U.S.

36 (2004).

                          If these terms are included on a video, photo, or other item of evidence,

or referenced, While the time and location of a video recording might not be hearsay

or generate a Confrontation Clause problem, statements such as "Rioters approach,"

"Breach," "Confrontation," "Police Line," do because they are testimonial.

                          Opinion testimony is not helpful, if the opinion is one that the witness

is in no better position to render than the jurors themselves. United States v.

Garcia-Ortiz, 528 F.3d 74, 79–80 (1st Cir. 2008); United States v. Wantuch, 525 F.3d

505,514 (7th Cir. 2008). Nor should opinion testimony usurp the fact-finding role of

the jury or in this case the Judge. United States v. Garcia, 413 F.3d 201, 210–11 (2d

Cir. 2005);United States v Grinage, 390 F.3d 746, 750–51 (2d Cir. 2004).



                                    B.      Any Reference to Mr. Thomas Being an Anti-
                                            Government Extremist Should not be Permitted.


                          The Defendant has reason to believe that the Government may

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attempt to introduce evidence, make prejudicial statements, or ask prejudicial

questions about the character of the defendant when character is not in issue and

has no relevance to the crimes charged. Under the Federal Rules of Evidence, the

Government may not introduce specific instances of character of the Defendant, and

it may not introduce any evidence of the character of the defendant unless

Defendant has raised such evidence and it is a "pertinent" trait to the case. Fed. R.

Evid. 404(a) (2)(A) (requiring evidence against victim to be "pertinent"); Fed. R.

Evid. 405 (limiting evidence of specific conduct to cases in which character

is "an essential element of a charge, claim, or defense"). Here, the character of the

defendant and his views about the government is irrelevant to any of the listed

charges and is therefore not "pertinent." Accordingly, the Court should order the

Government not to make any statements about the character of the Defendant

without leave of the Court.

                          Additionally, said attempted use fails §403 analysis. The use of this

information seeks to inflame the trier of fact and the ability to render a fair,

impartial verdict. The Government seeks to admit this information, the label they

put on Mr. Thomas from the beginning of the investigation into his January 6th

conduct, to establish that anti-government extremism makes Mr. Thomas anti-law

enforcement as well, which could not be further from the truth. As this evidence is

of little relevance to begin with, the danger of its use far outweighs its probative

value. The evidence is not related to any of the key disputes in this case, it is not

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important to resolving an issue in this cause, and the evidence is not needed by the

Government to seek to prove any issues in this cause.



                         CONCLUSION



                         Based on the foregoing reasons and such other reasons which may

appear just and proper, counsel respectfully requests this Honorable Court grant

this motion in limine and Grant any and all other relief deemed equitable and fair

by this Honorable Court.

Dated: December 15, 2022
                                                                             Digitally signed by Joseph R.

                                                           Joseph R. Conte   Conte
                                                                             Date: 2022.12.15 10:11:21
                                                              _________________________
                                                                             -05'00'
                                                              Joseph R. Conte
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